 Case 2:21-cr-00520-JNP Document 221 Filed 09/18/24 PageID.3371 Page 1 of 1




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────────────────────────────────────────────────────────────────
                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH
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       UNITED STATES OF AMERICA,                          2:21-cr-00520-JNP
                       Plaintiff,
            vs.                                           RESPONSE TO MOTION TO
                                                    :     CONTINUE SENTENCING
       ALLISON BAVER,
                              Defendant.                  Honorable Judge Jill Parrish

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       The United States of America, through its attorney, Trina A. Higgins, United States

Attorney for the District of Utah, hereby objects to Defendant’s motion to continue the

sentencing scheduled for October 15, 2024. This matter was originally scheduled for October 30,

2023. (Dkt. #173.) At the defendant’s request, sentencing was continued four times. (Dkt. #s

185, 201, 203, 211.) The United States requested one continuance of five days. (Dkt. 204.)

       For the fifth time, defendant requests a continuance, this time on the ground to allow the

United States time to respond to her latest request. The United States has responded and no

additional information will be provided. While it is common for the United States Attorney’s

Office in this district to work with defense counsel to answer questions and to provide

information beyond legal requirements, that courtesy is not an appropriate basis for another

continuance in this case.

       RESPECTFULLY SUBMITTED on this 18th day of September 2024.


                                             /s/ Trina A. Higgins
                                             TRINA A. HIGGINS
                                             United States Attorney
